                             UNITEDDoc
       Case: 6:24-cr-00028-REW-HAI  STATES
                                       #: 8 DISTRICT    COURT
                                            Filed: 05/10/24 Page: 1 of 2 - Page ID#: 17
                             EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                        LONDON
                       CRIMINAL MINUTES-ARRAIGNMENT AND PLEA

Case No. 6:24-CR-28-REW-HAI-1                    At: London                Date: May 10, 2024

U.S.A. vs Scott Blair    X present      X custody         OR AGE: 52

DOCKET ENTRY: Defendant having appeared with counsel for waiver of indictment and filing of
Information and, the Court being advised that the defendant wishes to enter a plea, proceedings were held as
noted. Counsel, Defendant, and U.S. Probation were present as noted below. Also present were FBI Task
Force Officer Zach Bryson and paralegal Jennifer Webb of the U.S. Attorney’s Office.

The Court initially addressed some nuance concerning the essential elements described in the proposed plea
agreement. Counsel for both parties and Defendant affirmed they had analyzed that nuance and considered
it prior to the hearing.

Defendant was placed under oath and questioned by the Court. Defendant executed a Waiver of Indictment
in open court and the Court made sufficient findings on the record. Consent to Plead Before U.S. Magistrate
Judge executed by the Defendant. Further, the Court finds the Defendant to be fully competent and capable
of entering an informed plea. The plea of guilty is a knowing and voluntary plea supported by an independent
basis in fact containing the essential elements of the offense charged. The Defendant waives the right to
appeal the guilty plea, conviction, and sentence. Except for claims of ineffective assistance of counsel,
Defendant also waives the right to attack collaterally the guilty plea, conviction, and sentence. Therefore,
the Court recommends that the plea should be accepted and Defendant should be adjudged guilty of the
offense charged in the Information. A separate Recommendation concerning plea acceptance will be entered.

In the event this hearing is transcribed, the portion containing the closed session shall be filed UNDER SEAL.

The parties executed a plea agreement prior to today’s proceeding. The United States SHALL promptly file the
revised plea agreement in the record. The signed plea agreement filed in the record will be deemed the original
plea agreement for docketing purposes. The printed original shall be maintained by counsel for the government in
the case file.

PRESENT: HON. HANLY A. INGRAM, UNITED STATES MAGISTRATE JUDGE

Amanda Ramsey               Audio File Number                Scott Greiwe               Justin E. Blankenship
 Deputy Clerk                Court Reporter                 U.S. Probation             Assistant U.S. Attorney

I, Amanda Ramsey, Deputy Clerk, CERTIFY the official record of this proceeding is an audio file: KYED-
LON_6-24-CR-28-REW-HAI-1_20240510_110355.

Counsel for Deft: Ned Pillersdorf X present X retained                 appointed

PROCEEDINGS: WAIVER OF INDICTMENT, FILING OF INFORMATION AND GUILTY PLEA

X      Waiver of Indictment executed and shall be filed in the record.

X      Information filed in open court.

X      Copy of Information given to Defendant.
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X      Defendant states true name is Scott Blair.

       ____________________________ appointed Attorney under the Criminal Justice Act.

X      Defendant formally arraigned and advised of rights, pursuant to Rule 11, F.R.Cr.P.

X      Information Read.

X      Defendant waived his right to a trial by jury.

X      Defendant pleads X GUILTY to the Information.

X      PLEA AGREEMENT shall be filed in the record by the United States.

__     Court orders Presentence Report, with copies to be furnished to counsel and Defendant, pursuant
       to Rule 32, F.R.Cr.P.

       Defendant released subject to conditions of release.

X      Defendant remanded to custody pursuant to 18 USC 1343.

X      Sentencing to be set by separate order.

Copies: COR, USP, USM

TIC: 1 hr. 1 min.

Clerk’s Initials: apr
